              Case 2:19-cr-00201-JCC Document 55 Filed 10/08/21 Page 1 of 1




 1                                                 The Honorable Judge John C. Coughenour
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
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10
     UNITED STATES OF AMERICA,                         NO. CR19-201 JCC
11
                               Plaintiff
                                                       ORDER TO SEAL
12
                         v.
13
     TIFFANY WATTS
14
                               Defendant.
15
16          Based upon the motion of the United States (Dkt. No. 50), and the representations
17 made therein, it is HEREBY ORDERED that the Exhibit A-S in this matter (Dkt. No. 51)
18 be MAINTAINED UNDER SEAL because it contains personal identifiable information
19 of the defendant and victims and is not permitted to be made publicly available. DATED
20 this 8th day of October 2021.
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22
23
24
                                                     A
                                                     John C. Coughenour
25                                                   UNITED STATES DISTRICT JUDGE
     Presented by:
26
   /s/ Stephen Hobbs
27 STEPHEN HOBBS
28 Assistant United States Attorney
     Order to Seal - 1                                                 UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     United States v.Watts , CR19-201 JCC
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
